
In re Overbey, John Lewis;—Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Richland, 5th Judicial District Court Div. B, No. F-96-169; to the Court of Appeal, Second Circuit, No. 34504-KH.
Writ granted in part; otherwise denied. The court reporter and the district attorney are ordered to provide relator with an estimate of the costs of reproducing public records relator has requested and to which relator is entitled. La. Const. art. XII, Section 3; R.S. 44:31, R.S. 44:31.1; State ex rel. Leonard v. State, 96-1889 (La.6/13/97), 695 So.2d 1325; State ex rel. Level v. State, 99-2266 (La.12/17/99), 751 So.2d 869; Range v. Moreau, 96-1607 (La.9/3/96), 678 So.2d 537. In all other respects, the application is denied.
